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            IN THE UNITED STATES DISTRICT COURT FOR THE

                        DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,     )
                              )
               Plaintiff,     )                   8:92CR14
                              )
          v.                  )
                              )
CHRISTOPHER SCOTT,            )             MEMORANDUM OPINION
                              )
               Defendant.     )
______________________________)


            This matter is before the Court on defendant’s motion

(Filing No. 1078) for modification of sentence pursuant to 18

U.S.C. § 3582(c)(2).     This motion seeks a modification of

defendant’s sentence premised on the recent decision of the

United States Sentencing Commission which made retroactive the

modifications of sentences for crack cocaine incorporated into

the November 1, 2007, sentencing guidelines.

            The defendant was sentenced to a term of life

imprisonment on July 26, 1993, after having been found guilty of

a violation of 21, U.S.C. § 848(b), a continuing criminal

enterprise.    This determination of guilt was made by the jury

pursuant to instructions which track the provisions of 21 U.S.C.

§ 848(b).    As the Court noted in its sentencing memorandum of

July 23, 1993 (Filing No. 732), the amount of crack cocaine

substantially exceeded 1.5 kilograms, which constituted the basis

for the determination that under the statute, a life sentence was

mandated.
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           The recent changes in the United States Sentencing

Guidelines with respect to the offense levels for crack cocaine

do not implicate the determination of defendant’s sentence under

the continuing criminal enterprise statute.             For these reasons,

defendant’s motion will be denied.          A separate order will be

entered in accordance with this memorandum opinion.

           DATED this 2nd day of January, 2008.

                                     BY THE COURT:

                                     /s/ Lyle E. Strom
                                     _________________________________
                                        LYLE E. STROM, Senior Judge
                                        United States District Court
